                Case 2:20-cr-00026-FMO Document 66 Filed 05/31/22 Page 1 of 5 Page ID #:291

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 20-0026-FMO-01

 Defendant           SANVEL SERGEI ABADZHIAN                                 Social Security No. 5         2   0     7
 akas:   Sanuel Sergeye Abadzhian                                            (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         05     26      2022

  COUNSEL                                                                Alex Kessel, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                     Count 1: Conspiracy to Commit Bank Fraud; 18 U.S.C. § 1349

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: forty (40) months

       It is the Judgment of the court that defendant is sentenced on Count 1 of the Indictment to the custody
of the Bureau of Prisons for a term of forty (40) months.

      Upon release from imprisonment, defendant shall be placed on supervised release for a term of two (2)
years under the following terms and conditions:

         1.          Defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                     Services Office and Second Amended General Order 20-04.

         2.          Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit
                     to one drug test within 15 days of release from custody and at least two periodic drug tests
                     thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         3.          During the period of community supervision, defendant shall pay the special assessment and
                     restitution in accordance with this judgment's orders pertaining to such payment.

         4.          Defendant shall not obtain or possess any driver's license, Social Security number, birth
                     certificate, passport or any other form of identification in any name, other than defendant's true
                     legal name, nor shall defendant use any name other than defendant's true legal name without the
                     prior written approval of the Probation Officer.

         5.          Defendant shall provide the Probation Officer with access to any and all business records, client
                     lists, and other records pertaining to the operation of any business owned, in whole or in part, by
                     defendant, as directed by the Probation Officer.


CR-104 (wpd 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 5
               Case 2:20-cr-00026-FMO Document 66 Filed 05/31/22 Page 2 of 5 Page ID #:292

 USA vs.      SANVEL SERGEI ABADZHIAN                                Docket No.:   CR 20-0026-FMO

         6.          Defendant shall not be employed in any position that requires licensing or certification by any local,
                     state, or federal agency without the prior written approval of the Probation Officer.

         7.          Defendant shall not be self-employed nor be employed in a position that does not provide regular
                     pay stubs with the appropriate deductions for taxes, unless approved by the Probation Officer.

         8.          Defendant shall cooperate in the collection of a DNA sample from defendant.

         9.          Defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                     judgments and any other financial gains to the Court-ordered financial obligation.

         10.         Defendant shall submit the defendant's person and any property, residence, vehicle, papers,
                     computers, other electronic communications or data storage devices or media, and effects to
                     search and seizure at any time of the day or night by any law enforcement or probation officer,
                     with or without a warrant, and with or without cause. Failure to submit to a search may be grounds
                     for revocation. Defendant shall warn any other occupants that the premises may be subject to
                     searches pursuant to this condition.

        Defendant shall pay to the United States a special assessment of $100, which is due immediately. Any
unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. All fines are waived as the court
finds that defendant does not have the ability to pay a fine.

        The court has found that the property identified in the preliminary order of forfeiture is subject to forfeiture
for the violations to which defendant has pled guilty. The preliminary order of forfeiture is hereby incorporated
by reference into this judgment and is final.

        Defendant shall pay restitution in the total amount of $1,763,606 as set forth on the confidential victim
list provided to the Clerk’s Office. The $400,000 defendant has forfeited to the government shall be credited
against the amount of restitution owed in this case. Restitution is due during the period of imprisonment at the
rate of not less than $25 per quarter and pursuant to the Bureau of Prisons’ inmate financial responsibility
program. For any amount of restitution that remains unpaid after release from custody, defendant shall make
monthly payments of at least ten percent of defendant’s gross monthly income, but not less than $500 per
month, during the period of supervised release, to begin 30 days after the commencement of supervision. The
court will not require defendant to make an immediate cash payment toward his restitution. Interest on the
restitution ordered is waived pursuant to 18 U.S.C. § 3612(f)(3)(a) because defendant does not have the ability
to pay interest.

       Defendant shall surrender himself to the institution designated by the Bureau of Prisons on or before noon
on July 29, 2022. In the absence of such designation, defendant shall report on or before the same date and
time to the United States Marshal located at First Street Court House, 350 West First Street, Los Angeles, CA
90012. Defendant’s bond shall be deemed exonerated upon self-surrender.

         On the government’s motion, all remaining counts are dismissed.

       The court recommends the defendant be designated to FCI Lompoc or another facility in Southern
California.

         The court informs defendant of his right to appeal.

CR-104 (wpd 12/20)                          JUDGMENT & PROBATION/COMMITMENT ORDER                                  Page 2 of 5
               Case 2:20-cr-00026-FMO Document 66 Filed 05/31/22 Page 3 of 5 Page ID #:293

 USA vs.     SANVEL SERGEI ABADZHIAN                                                       Docket No.:      CR 20-0026-FMO



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            May 31, 2022
            Date                                                               Fernando M. Olguin, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                               Clerk, U.S. District Court



            May 31, 2022                                             By        /s/ G. Garcia
            Filed Date                                                         Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local                9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                              in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal                    convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a                   officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                          the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                        that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by                  rehabilitation;
       the court or probation officer;                                               10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                        purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation                    controlled substance, or any paraphernalia related to such substances,
       officer;                                                                            except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation           11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment                   arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;                  12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation                   destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before         13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                       enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;                     permission of the court;
 7.    The defendant must permit the probation officer to contact him or             14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation                   implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and                 criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                                    defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by                    vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable                  most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (wpd 12/20)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                                Page 3 of 5
               Case 2:20-cr-00026-FMO Document 66 Filed 05/31/22 Page 4 of 5 Page ID #:294

 USA vs.     SANVEL SERGEI ABADZHIAN                                            Docket No.:     CR 20-0026-FMO


             The defendant must also comply with the following special conditions (set forth below).
       X
             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 4 of 5
               Case 2:20-cr-00026-FMO Document 66 Filed 05/31/22 Page 5 of 5 Page ID #:295
 USA vs.     SANVEL SERGEI ABADZHIAN                                             Docket No.:      CR 20-0026-FMO




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
